Case 1:15-cV-O4549-HBP Document 54-1 Filed 07/15/16 Page 1 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

BAo cHENG Fu, GUANG Ll zHANG,
zHoNG QI LIN, molleuALLY AND oN Case N°-f '5'°"'04549'KPF
BEHALF oF ALL 0HER EMPLOYEES
siMlLARLY slTuATED,
Plaintiffs,

-against-

MEE MAY CORP. d/b/a MEE NOODLE SHOP
& GRILL, JlANG QING CHEN, KUANG CHI
WU, JOHN (First Name Unknown) WU, John
Doe and Jane Doe # l-lO,

Defendants.

 

SETTLEMENT AGREEMENT AND GENERAL RELEASE

Mee May Corp., Jiang Qing Chen, and Wu Kuang Chil (col|ectively “Defendants”) and
Bao Cheng Fu, Guang Li Zhang, and Zhong Qi Lin (collectively “Plaintift`s”), each a “party” and
collectively “parties,” desiring to settle all matters between them, hereby agree as follows:

WHEREAS, the instant United States District Court, Southem District of New York
action, Case No. lS-cv-04549 (the “Litigation”), was originally filed on June ll, 2015 by
Plaintiff`s against Defendants, alleging violations of minimum wage, overtime compensation,
spread of hours, notice requirements, reimbursements of expenses, and liquidated damages under
the Fair Labor Standards Act (“FLSA”) and New York Labor Law (“NYLL”);

WHEREAS, an answer was filed by Def`endants on August 21, 2015;

WHEREAS, Defendants do not concede liability or any other aspect of Plaintiffs’
allegations, including but not limited to, Plaintif`f`s’ duration of employment; FLSA and NYLL
claims of failure to pay minimum wages and overtime wages; NYLL claims of spread of hours;
and FLSA and NYLL claims concerning the failure to post notices and to maintain accurate
records; and in fact denies such allegations in its entirety;

WHEREAS, the parties have determined it to be in their mutual interests to settle any
and all claims or other matters between them and to dismiss the Litigation with prejudice;

 

' Defendant Wu Kuang Chi’s legal name is incorrectly sued as “Kuang Chi Wu” in this action. His first name is Wu
Kuang and his last name is Chi.

Case 1:15-cV-O4549-HBP Document 54-1 Filed 07/15/16 Page 2 of 10

NOW, THEREFORE, for good and valuable consideration, the receipt of which is
acknowledged hereby, and in consideration of the mutual covenants and undertakings set forth
herein, the parties agree as follows:

l . Consideration.

l.l ln consideration for Plaintif`f`s signing this Agreement and in full satisfaction of all claims
that P|aintiffs may have against Defendants, its parent corporation, affiliates, subsidiaries,
divisions, predecessors, insurers, successors and assigns and the current and fenner owners,
employees, officers, directors and agents thereof (collectively “Releasees”) known or unknown,
asserted or unasserted, Defendants agree to pay to Plaintiffs upon the full execution of this
Settlement Agreement, the total sum of Twenty Four Thousand Dollars and No Cents
($24,000.00) (“the Settlement Sum”). Such payment shall be sent to Plaintiffs’ counsel, l-Iang &
Associates, PLLC, 136-18 39th Avenue, Suite 1003, Flushing, New York 11354, and the checks
shall be payable as follows on or before the date indicated below. However, it is understood that,
if the Court has not approved this Settlement Agreement by the payment date listed below,
Plaintiffs’ counsel shall hold the checks in escrow and not deposit the checks until such Court
approval is granted. If the Court does not approve this Settlement Agreement, Plaintiffs’ counsel
is to immediately return the Settlement Sum that Plaintiffs’ counsel has already received as part
of this Settlement Agreement.

(i) Upon the full execution of this Settlement Agreement (sum of twenty-four
thousand dollars and no cents ($24,000.00)1:
l. One check payable to Bao Cheng Fu in the amount of §2,500;

2. One check payable to Guang Li Zhang in the amount of`§3,500;
3. One check payable to Zhong Qi Lin in the amount of §8,000; and
4. One check payable to Hang & Associates, PLLC in the amount of §10,000.

1.2 Should Defendants fail to make payment to Plaintiffs as stated in Paragraph l.l, Plaintiffs
are to immediately notify Defendants by email of the default (notice deemed completed upon
sending via: (l) email to benjaminxue@xuelaw.com and kevinyam@xuelaw.com and (2)
certified mail to Xue & Associates, P.C., 1001 Avenue of the Americas, llth Floor, New York,
NY 10018), but failure to immediately notify Defendants shall not be construed as a waiver of
the right to do so. Defendants shall have five (5) calendar days after the notification is sent to
remit payment to Plaintiffs.

l.3 Upon the full execution of this Settlement Agreement, Plaintiffs or Defendants shall file
with the Court the Stipulation of Voluntary Dismissal with Prejudice attached herewith as
Exhibit “A”.

2. No Consideration Absent Plaintiffs’ Material Representations and Promises.
Plaintiffs understand and agree that Plaintiffs would not receive the Settlement Amounts

specified in Paragraph l.l above, except for the representations and promises made by Plaintiffs
in this Agreement.

Case 1:15-cV-O4549-HBP Document 54-1 Filed 07/15/16 Page 3 of 10

3. Release of Claims to Be Brought in Class or Collective Action. Plaintiffs
waive any right or ability to be a class or collective action representative or to otherwise

participate in any putative or certified class, collective or multi-party action or proceeding based
on such a claim in which Defendants or any other Releasees identified in this Agreement is a

party.

4. Affirmations. P|aintiffs affirm that they have not filed, caused to be filed, or are
presently a party to any claim, complaint, or action against Defendants in any forum or form.

Except as may be required by law, P|aintiffs shall not, in any way, voluntarily assist any
individual or entity in commencing or prosecuting any action or proceeding against Defendants,
including, but not limited to, any administrative agency claims, charges or complaints, and/or
any lawsuits, counterclaims, cross claims, arbitral claims or other claims, or in any way
voluntarily participate or cooperate in any such action or proceeding This prohibition applies to
every stage of any action or proceeding, including any trial, hearing, pretrial or prehearing
preparation, pre-litigation investigation or fact gathering, administrative agency procedure or
arbitral procedure, and bars P|aintiffs from voluntarily testifying, providing documents or
information, advising, counseling or providing any other form of voluntary assistance to any
person or entity who wishes to make or who is making any claim against Defendants, In the
event any such proceeding is instituted, P|aintiffs shall not seek or accept any monies, award or
recovery therefrom.

P|aintiffs also affirm Plaintif`fs, following the payments set forth in Paragraph l.l, have
been paid or have received all compensation, wages, bonuses, commissions, and/or benefits to
which P|aintiffs were or may be entitled or believe to be owed by Defendants to Plaintif`fs.

P|aintiffs further affirm that P|aintiffs have no known workplace injuries or occupational
diseases.

P|aintiffs also affirm that Plaintiffs have not divulged any proprietary or confidential
information of Defendants and will continue to maintain the confidentiality of such information
consistent with common law.

P|aintiffs affirm that they have returned all of Defendants’ property, documents, and/or
any confidential information in Plaintiffs’ possession or control.

P|aintiffs further affirm that they have not been retaliated against for reporting any
allegations of wrongdoing by Defendants or its officers, including any allegations of corporate
fraud. A|l parties acknowledge that this Agreement does not limit any party’s right, where
applicable, to file or participate in an investigative proceeding of any federal, state, or local
governmental agency. To the extent permitted by law, P|aintiffs agree that if such an
administrative claim is made, P|aintiffs shall not be entitled to recover any individual monetary
relief or other individual remedies.

P|aintiffs acknowledge that because of circumstances unique to P|aintiffs including but
not limited to, irreconcilable differences with Defendants, Plaintiffs are ineligible pursuant to this

3

Case 1:15-cV-O4549-HBP Document 54-1 Filed 07/15/16 Page 4 of 10

Agreement to hold any positions with Defendants or its affiliated entities or businesses now or in
the fiiture and shall not apply in the future for employment with Defendants. Further, Plaintiffs
agree that if Defendants inadvertently hire Plaintiffs, Defendants may terminate Plaintiffs’
employment immediately. This is a negotiated provision of this Agreement and is not evidence
of retaliation.

5. Indemnification and Tax Conseguences. Defendants may issue tax form 1099
with Box 3 checked as may be required by law. Plaintiffs shall be solely responsible for the
payment of all taxes, interests, penalties and other liabilities or costs that may be assessed in
connection with the settlement sums set forth in Paragraph l.l above. Plaintiffs further agree to
indemnify and hold Defendants harmless against the payment of` any such taxes, interest,
penalties and other liabilities or costs that may be assessed against it in connection with the
settlement sums described in Paragraph l.l above. Plaintiffs acknowledge that they have not
relied on any oral or other representations made by Defendants or their counsel regarding the tax
consequences of any of the amounts paid pursuant to this Agreement.

6. Non-Disgaragement. Plaintiffs agree not to defame, disparage, or demean
Defendants in any manner whatsoever, including, without limitation, comments or statements of
any kind whatsoever which are harmful to the reputation of Defendants, including any comments
or statements to the press or online on Facebook, MySpace, Twitter, or any other online and/or
social networking website. Should Plaintiffs breach this non-disparagement provision and
Defendants are required to institute legal proceedings to enforce any of the provisions of this
Paragraph, Plaintiffs agree to pay Defendants’ reasonable attomeys’ fees and costs in connection
with doing so, along with monetary damages in an amount to be determined by a court if such
breach is established by Defendants in a court of competentjurisdiction and Defendants is the
prevailing party.

Defendants agree not to defame, disparage, or demean Plaintiffs in any manner
whatsoever, including, without limitation, comments or statements of any kind whatsoever which
are harmful to the reputation of Plaintiffs, including any comments or statements to the press or
online on Facebook, MySpace, Twitter, or any other online and/or social networking website.
Should Defendants breach this non-disparagement provision and Plaintiffs are required to
institute legal proceedings to enforce any of the provisions of this Paragraph, Defendants agree
to pay Plaintiffs’ reasonable attomeys’ fees and costs in connection with doing so, along with
monetary damages in an amount to be determined by a court if such breach is established by
Plaintiffs in a court of competentjurisdiction and Plaintiffs is the prevailing party.

7. Nonadmission of Wrongdoing. The parties agree that neither this Agreement
nor the furnishing of the consideration for this Agreement shall be deemed or construed at any
time for any purpose as an admission by Defendants of wrongdoing or evidence of any liability
or unlawful conduct of any kind.

8. Amendment. This Agreement may not be modified, altered, or changed except
in writing and signed by both parties wherein specific reference is made to this Agreement.

9. Entire Agreement. This Agreement sets forth the entire agreement between the

4

Case 1:15-cV-04549-HBP Document 54-1 Filed 07/15/16 Page 5 of 10

parties, and fully supersedes any prior agreements or understandings between the parties.
Plaintiffs acknowledge that they have not relied on any representations, promises, or agreements
of any kind made to Plaintiffs in connection with their decision to accept this Agreement, except
for those set forth in this Agreement.

10. Counterparts and Facsimile Signatures. This Agreement may be executed in
multiple counterparts, each of which shall be deemed an original, and may be enforced as such.
The parties agree that a facsimile or scanned signature shall have the same force and effect as an
original signature and that this Agreement may be executed in counterparts by facsimile or
Adobe PDF attachments to emails.

ll. Governing Law and Interpretation. This Agreement shall be governed and
conformed in accordance with the laws of the State of New York without regard to its conflict of
laws provision. In the event of a breach of any provision of this Agreement, either party may
institute an action specifically to enforce any term or terms of this Agreement and/or to seek any
damages for breach. If any provision of this Agreement is declared illegal or unenforceable by
any court, excluding the general release language, that provision shall immediately become null
and void, leaving the remainder of this Agreement in full force and effect.

[This space below is intentionally left blank. Signature page follows.]

Case 1:15-cV-04549-HBP Document 54-1 Filed 07/15/16 Page 6 of 10

THE PAR'I'IES AGREE I`H.AT THEY HAD A REASGNABLE PERIOD OF TIME TO
CONSI.DER THIS AGR.`EEMENT. PIAINTIFFS AGREE TRA'I` THEY HAV'E
CONSULTED WITH THEIR RESPECTIVE A'I'I'ORNEYS OF RECC)RD PRIOR TO
m SIGNING OF THIS AGREEMENT.

PLAINTIFFS, FREELY AND KNOWINGLY, AND AF['ER DUE CONSIDERATION
AND CONSULTATION WI'I'H 'I’HEIR A'I'I`ORN'EYS, HANG & ASSOCIATES, P'LLC,
ENTER INTO THIS AGREEMEN`I` INTENDING TO WAIVE, SET'I'I..E, AND
RELEASE ALL CLAIMS FLAIN'I‘IFF HAD, IIAVE, OR MIGHT HAVE AGAINST
DEFEI"DANTS.

 

 

 

 

 

Datcd: _________________________
Bao Cheng Fu
Darzd:
Guang Li Zhang
Dated:
Dumg Qi Lin

77 //v DM:

MeeMayCorp, by ibm Gl\`

an authorized Officer or 5
/ “"" Dm¢d: b

Jleng QingCh
M Dated: 7 k ib

iii

wu 1653 chi

Case 1:15-cV-04549-HBP Document 54-1 Filed 07/15/16 Page 7 of 10

1 THEYHAD AREASQNABLE¥EB!GD fime
THECONSDERPARUTBBAQAREE m . FLMN'"F 178 AGREE m‘l' THEY HAVE
CONSULTED WITH m RES¥EC`I'!VE A'I'I'CRNEYS 03 REC°RD won TO
THE SIGNING OFTIBS AGR¥.EMBNI‘.

FLMNT|F¥S, FREELY AND XNDW(NGLY AND AI‘TER DUE CONSIDERATIGN
AND CONSULTA'IION Wll'll m ATI'&RNEYS, BANG & ASSOC!ATES, FLLC,
EN'IBRMOTB!SAGREEMENTU¢TENDINGTOWANE¢ SETI'LE,AND
RELEASE ALLCLAMB¥LMHAD,EAVE,ORMG§THAVEAGAINST
DEFEFDANTS.

51111 51 1115-111/”1 /P\ ssa '7/"7 / /é

 

 

BmChengF\l 0

E'\Uk!\{éi`j:l' Ziiéf[%l oma- {6
Guangl.izhmg `

alpha 511 /,m . 7 )1,/ ii

 

 

 

!tmgQing
;/Z\A/\/? ma 7 111

Wul<umg€hi r

Case 1:15-cV-04549-HBP Document 54-1 Filed 07/15/16 Page 8 of 10

EXHIBIT A

Case 1:15-cV-04549-HBP Document 54-1 Filed 07/15/16 Page 9 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

BAo cHBNG FU, GUANG L,i zHANG, ,
zHoNG or LIN, INDIvtDUALLY AND oN Cas° N°-¢ 15'““‘04549'KPF
BEHALF or ALL. oHER EMPLoYEEs
slMlLARLY siruATED,

Plaintiff`,

_ STIPULA'I`ION OF VOLUNTARY
‘3Bamst` DISMISSAL WITH PREJUDICE

MEE MAY CORP. d/b/a MEE NOODLE SHOP
& GRILL, JIANG QING CHEN, KUANG CHI
WU, JOHN (First Name Unknown) WU, Jchn
Doe and Jane Doe # 1-10,

Defendants

 

WHEREAS, Plaintiffs contend that Defendants did not compensate them properly under
the federal (FLSA) and state (NYLL) wage laws;

WHEREAS, Defendants vehemently deny all allegations of wrongdoing made by
Plaintiffs;

WHEREAS, the parties have resolved this matter in its entirety',

WHEREAS, the Court approves of the parties' resolution of this case without further
litigation;

WHEREAS, the United States District Court for the Southem District of New York shall
retain jurisdiction over all proceedings solely to enforce the terms of the settlement between the
parties in this action;

lT IS HEREBY ST!PULA'I`ED AND AGREED, by and between the parties in the
above captioned action, through the undersigned counsel, that Plaintiffs’ Complaint and any and

all claims that were or could have been asserted in this action are hereby discontinued and

Case 1:15-cV-04549-HBP Doc-ument 54-1 Filed 07/15/16 Page 10 of 10

dismissed, with prejudice, in accordance with Rule 41 of the Federa] Rules ofCivil Procedure,

and with each party to bear its own costs, expenses, disbursements and attorneys' fees.

Uu~.QA/t jul
Date; we ge ,2016 Daze: ian 15 ,2016
Hang & Associates, PLLC Xue & Associates, P C.
Atto) neys for Plaintiffs Bao Cheng Fu, Attorneys or Defendants Mee May Corp.,
Guang Li Zhang, and Zhang Qz' Lin Jz'ang mg hen, and Wu Kuang Chi

 

/%/)/:m</;/

aff/dana Esq
Marisol Santos, Esq
136- 18 39‘h Avenue, Suite 1003
Flushing, NY 11354
Tel.: (718) 353-8588

 

Tel.: (212 219-2275

 

SO ORDERED:

